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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In Re: Shonda Matia Harris-Muhammed,                                  Case No. 21-33268-KLP
                    Debtor.                                           Chapter 13 Proceeding


FEDERATION OF APPALACHIAN HOUSING                           )
ENTERPRISES, INC., as Servicer for Richmond                 )
Redevelopment and Housing Authority,                        )
                                                            )
                          Plaintiff,                        )
                                                            )
v.                                                          )
                                                            )
SHONDA MATIA HARRIS-MUHAMMED,                               )
DEMETRIUS H. MUHAMMED, Co-Debtor,                           )
and                                                         )
CARL M. BATES, Trustee,                                     )
                                                            )
                          Defendants.                       )

                       NOTICE OF AND MOTION FOR RELIEF FROM
                       THE CO-DEBTOR STAY OF 11 U.S.C. § 1301(C)(2)

        Federation of Appalachian Housing Enterprises, Inc., as Servicer for Richmond
Redevelopment and Housing Authority has filed papers with the Court to seek relief from the co-
debtor stay.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

        If you do not want the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on the motion, then you must file a written response explaining your
position and requesting a hearing with the Court at the following address:

        File with the Court an answer, explaining your position at:


______________________________
Robert H. Chappell III, Esquire (VSB #31698)
Jennifer J. West, Esquire (VSB #47522)
Karl A. Moses, Jr., Esquire (VSB #89433)
SPOTTS FAIN PC
411 East Franklin Street, Suite 600
Richmond, Virginia 23219
Telephone: (804) 697-2000
Facsimile: (804) 697-2100
Counsel for Federation of Appalachian Housing Enterprises, Inc.,
as Servicer for Richmond Redevelopment and Housing Authority
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       William C. Redden, Clerk
       U.S. Bankruptcy Court
       Eastern District of Virginia, Richmond Division
       701 East Broad Street, Suite 4000
       Richmond, VA 23219

       You must also mail a copy to

       Jennifer J. West, Esquire
       Spotts Fain PC
       411 East Franklin Street, Suite 600
       Richmond, Virginia 23219

       and to

       Carl M. Bates, Chapter 13 Trustee
       P. O. Box 1819
       Richmond, Virginia 23218

        NOTICE TO CO-DEBTOR: If you do not file an objection within 21 days of the service
of this Motion, the law provides that the stay protecting you from further legal action against you
by this creditor will terminate [see 11 U.S.C. § 1301(d)].

        If you or your attorney do not take these steps, the Court may decide that you do not oppose
the relief sought in the Motion and may enter an Order granting that relief.

                    MOTION FOR RELIEF FROM CO-DEBTOR STAY

       Federation of Appalachian Housing Enterprises, Inc., as Servicer for Richmond

Redevelopment and Housing Authority (“FAHE”) submits the following Motion for Relief from

the Co-Debtor Stay of 11 U.S.C. § 1301(C)(2), requesting the Court permit FAHE to enforce its

remedies under its lease agreement and state law, including the right to foreclose upon and sell

certain property, as defined herein, or enter an order granting it adequate protection of its interest

in the personal property. In support of this Motion, FAHE states the following:

       1.       Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1334. This matter

is a “core” proceeding as set forth under 28 U.S.C. § 157.

       2.       On October 29, 2021 (the “Petition Date”), Shonda Matia Harris-Muhammed (the




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“Debtor”) filed a petition under Chapter 13 of Title 11 of the United States Code.

       3.      On October 30, 2021, the Court appointed Carl M. Bates as Interim Trustee and

Mr. Bates continues to serve as the Trustee for the Bankruptcy Estate of the Debtor.

                                     LOAN DOCUMENTS

       4.      On or about April 30, 2002, the Debtor and Demetrius H. Muhammed (“Mr.

Muhammed” or the “Co-Debtor”) executed a Deed of Trust Note (the “Note”) in the original

principal amount of $115,400.00 payable to Richmond Redevelopment and Housing Authority

and serviced by FAHE. FAHE is the holder of the Note. A copy of the Note is attached hereto as

Exhibit 1.

       5.      The Note is secured by a Deed of Trust dated April 30, 2002 and recorded in the

Clerk’s Office, Circuit Court of the City of Richmond, Virginia (the “Clerk’s Office”) at

Instrument Number 020015637 on May 21, 2002 (the “Deed of Trust”). The Deed of Trust was

executed by the Debtor and Mr. Muhammed and encumbers real estate owned by them in the City

of Richmond, Virginia described as and known hereafter as 2101 North Avenue, Richmond,

Virginia 23222 (the “Property”) and more particularly described below. A copy of the Deed of

Trust is attached hereto as Exhibit 2.

       6.      On or about February 1, 2011, the Debtor and Mr. Muhammed executed a Loan

Modification Agreement, which was recorded in the Clerk’s Office at Instrument Number 11-5574

on March 30, 2011 (the “Loan Modification Agreement” and collectively with the Note and the

Deed of Trust, the “Loan Documents”). A copy of the Loan Modification Agreement is attached

hereto as Exhibit 3.

       7.      The legal description of the Property is:




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                                     GROUNDS FOR RELIEF

       8.      FAHE is a secured creditor of the Debtor with a payoff of not less than $99,869.03

as of October 30, 2021 on the Note.

       9.      The Debtor’s Amended Chapter 13 Plan dated December 10, 2021 (the “Amended

Plan”) provides that the Debtor will make regular, post-petition payments on the Note directly to

FAHE and arrears, if any, will be paid by the Trustee. (ECF No. 18.)

       10.     As of the date of filing of this Motion, the Debtor is delinquent for post-petition

payments due to FAHE for November 2021 through January 2022 in the total amount of $6,090.18,

which includes late fees.

       11.     The interests of FAHE in the Property are not adequately protected constituting

cause for granting relief from the co-debtor stay of 11 U.S.C. § 1301.

       WHEREFORE, Federation of Appalachian Housing Enterprises, Inc., as Servicer for

Richmond Redevelopment and Housing Authority respectfully requests that this Court enter an

Order granting Federation of Appalachian Housing Enterprises, Inc., as Servicer for Richmond

Redevelopment and Housing Authority relief from the from the co-debtor stay of 11 U.S.C. §

1301, allowing Federation of Appalachian Housing Enterprises, Inc., as Servicer for Richmond


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Redevelopment and Housing Authority to enforce its remedies under the Loan Documents and

under state law, including the right to foreclose upon the Property or otherwise granting it adequate

protection, and that it have such other and further relief as the Court may deem appropriate.

                                              FEDERATION OF APPALACHIAN HOUSING
                                              ENTERPRISES, INC., as Servicer for Richmond
                                              Redevelopment and Housing Authority


                                              By: /s/ Jennifer J. West
                                                             Counsel


Robert H. Chappell III, Esquire (VSB #31698)
Jennifer J. West, Esquire (VSB #47522)
Karl A. Moses, Jr., Esquire (VSB #89433)
SPOTTS FAIN PC
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Counsel for Federation of Appalachian Housing Enterprises, Inc.,
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing Notice of and Motion for Relief from Co-
Debtor Stay was sent via U.S. Mail, postage prepaid, and/or delivered by electronic means, this 5th
day of January, 2022 to the following, constituting all necessary parties:

 Shonda Matia Harris-Muhammed                       Demetrius H. Muhammed
 2101 North Avenue                                  2101 North Avenue
 Richmond, VA 23222                                 Richmond, VA 23222
 Debtor                                             Co-Debtor

 James E. Kane                                      Carl M. Bates, Trustee
 Kane & Papa, PC                                    P. O. Box 1819
 P.O. Box 508                                       Richmond, VA 23218
 Richmond, VA 23218-0508                            Chapter 13 Trustee
 Debtor’s Counsel

 John P. Fitzgerald, III, U.S. Trustee
 Office of the US Trustee - Region 4-R
 701 E. Broad Street, Ste. 4304
 Richmond, VA 23219


                                             /s/ Jennifer J. West

                                         SPECIAL NOTICE

      THE FOLLOWING NOTICE IS GIVEN TO YOU IN THE EVENT THAT THE FAIR DEBT
   COLLECTION PRACTICES ACT (15 U.S.C. 1692 et seq) APPLIES TO THIS COMMUNICATION.
   THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION OBTAINED WILL BE
    USED FOR THAT PURPOSE. THIS COMMUNICATION IS FROM A DEBT COLLECTOR.




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                              Exhibit 2 – Deed of Trust
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                     Exhibit 3 – Loan Modification Agreement
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